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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                   4:09CR3031
                                           )
              v.                           )
                                           )
MICHAEL KONING,                            )        MEMORANDUM AND ORDER
LOWELL BAISDEN,                            )
SUSAN BAISDEN-KONING,                      )
                                           )
                     Defendants.           )

       As usual, Magistrate Judge Zwart has thoroughly and correctly analyzed the facts and
the law, and, after de novo review, I adopt the judge’s finding and recommendations (filing
111).

       IT IS ORDERED that:

       1.     The finding and recommendations (filing 111) are adopted.

       2.     The defendants’ motions to sever (filings 57, 88 and 91) and defendants’
              motions (filings 79 and 91) to have Baisden tried first are denied.

       3.     The government’s motion to consolidate (filing 71) is denied.

       4.     The objections (filings 112, 122, 124 and 126) to Judge Zwart’s findings and
              recommendations are denied.

       5.     This matter is referred to Judge Zwart for further progression.

       DATED this 8 th day of October, 2010.

                                          BY THE COURT:

                                          Richard G. Kopf
                                          United States District Judge
